4:05-cr-03034-RGK-DLP        Doc # 81   Filed: 10/28/05   Page 1 of 2 - Page ID # 317




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )          4:05CR3034-2
                    Plaintiff,             )
                                           )
      vs.                                  )          TENTATIVE
                                           )          FINDINGS
ALEJANDRO ROQUE RAMIREZ,                   )
                                           )
                    Defendant.             )

      I am in receipt of the presentence investigation report in this case and the
defendant’s departure motion.

      IT IS ORDERED that:

       (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 125 S. Ct. 738 (2005). In this
regard, the undersigned gives notice that, unless otherwise ordered, he will (a) give
the advisory Guidelines substantial weight; (b) resolve all factual disputes relevant to
sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart
from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted,
deviate or vary from the Guidelines only when there is a plainly superior, principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.

      (2) There is no statutory mandatory minimum and the “safety valve” does
not apply to misprision of a felony. Therefore, defendant’s departure motion
regarding the safety valve (filing 79) is denied.
4:05-cr-03034-RGK-DLP        Doc # 81    Filed: 10/28/05   Page 2 of 2 - Page ID # 318




      (3) The parties are herewith notified that my tentative findings are that the
presentence report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting
the submission of evidentiary materials), (b) a brief as to the law and (c) if an
evidentiary hearing is requested, a statement describing why an evidentiary hearing
is necessary and how long such a hearing would take.

       (5) Absent submission of the information required by paragraph 4 of this
order, my tentative findings may become final.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      October 28, 2005.                    BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
